                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF KENTUCKY
                             CENTRAL DIVISION
                                LEXINGTON

CRIMINAL ACTIONS NO. 5:14-CR-85-JMH, 5:15-CR-66-JMH-1

UNITED STATES OF AMERICA

V.       MOTION TO MODIFY IMPOSED TERM OF IMPRISONMENT

WINONA JEAN COX

                                       * * * * *

       In separate 2015 jury trials, Cox was convicted of four counts of fraudulent claims

against the government, one count of interference with the internal revenue laws, one

count of failure to appear, and one count of conspiracy to fail to appear and to conceal a

person from arrest. In January 2016, Cox was sentenced to concurrent terms of

imprisonment for a total of 36 months (see 5:14-CR-85-JMH at R. 131; 5:15-CR-66-JMH

at R. 72). Cox is incarcerated in FCI Aliceville, with a release date of February 14, 2018.

       The Director of the Bureau of Prisons makes a motion under 18 U.S.C.

§ 3582(c)(1)(A)(i) that the Court “reduce the term of imprisonment” to time served

because of the “extraordinary and compelling reasons” that Cox has been diagnosed with

terminal cancer. The Bureau of Prisons has received confirmation from the Probation

Office that, if released, Cox could move to Nancy, Kentucky, and spend her remaining

time with her husband and her children.

       The United States requested and received from the Bureau of Prisons a June 7,

2017 memorandum from Jeffery Allen, Medical Director at the Federal Bureau of
Prisons, stating that Cox has cancer and projecting a life expectancy of eighteen months.

The United States also received a June 23, 2017 memorandum from Diane Elie, Health

Services Administrator at FCI Aliceville, stating that Cox has terminal cancer, and

describing a medical exam and the anticipated medical treatment. The United States also

received a May 22, 2017 report by Dr. Richard Griffin, of Aliceville, Alabama, who

described Cox’s medical condition.

      For the reasons set forth above, the United States files this motion on behalf of the

Director of the Bureau of Prisons to modify Cox’s term of imprisonment to time served.


                                         Respectfully submitted,

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                       CERTIFICATE OF SERVICE

On July 5, 2017, I electronically filed this document through the ECF system.

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